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                     CRIMINAL DOCKET· U.S. District Court                                           U.S.                                   (LAST, FIRST,   MIOOL~)                                                                                             DocIIet No.                       Def.
A02&6                                    AIIiInod         I_J WRIT                                        VS.
                                                                                                                                                                                                                        Mo. , Dey I Yr.
                                o
                                                             D~/~?~';; _ L....J JUVENILE r\.
(Rft. 2186)           PO              417                                                                               JACKSON, TRACEY LINNE                                                                           121 221 92                           00077                                01
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                     )~isd.     0                                                     L..-J ALIAS     V                  a/k/a Tracey Lynne Jackson
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                                 U.S. TITLEISECTION                                                                            OFFENSES CHARGED                                                   ORiGINAL COUNTS,




                                18 U.S.C. § 2113(g,)                                          Bank l\gb1;>ery                                                                                 Count L<'£c2                                     2




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                                      INTERVAL D N E ~END ONEAND/OR BEGIN TWO (OR RESTART PERIOD T~TRIAL.I


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                                                                                                          L....J   1,,"1 on compllinl              . . . .- .                  '"00"....""'
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              ~ ~L.IL\A                           3:CUSlodV                          12-22-92             LJlnformllion                         -- - - - - - -        CiLJ Supsdg~L..ijndUI;'f                           :;\    -J:3.f~                    ~Nolo                L.J Afternolo
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                              wliy.,counsel                                                            RE·                                           r)    ./)·1 /!"                     -.~    t? ...    ~                        Doos.T.                                           {U;O~t
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                                         Issued
                        Summons                                                                                                                                                                                                  HELD FOR GJ OR OTHER PRO·
                                         Served
                                                                                                                                                                                                                      L-.I CEEDING IN DISTRICT BELOW




•
                        Arrest Warrlnt Issued
                              COMPLAINT
                        O,te of Arrest
                                              •   OFFENSE (in Complaint)



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                      ~ow last nlmes Ind suffix numbers of other defendants on same indictment/information:
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                              ATTORNEYS
                               u. S. Attornev or Asst.                                                                                                                                                                                             BAIL •             RELEASE--
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                                R. Daniel Boyce
                                                                                                                                                                                                                                          Rele. . DI.
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                        Defense:     1 «CJA.             2    o   Ret.           3    0   WliYed.     40 Self.                5 0       Non I Other.          6 0        PD.         7    0      CD
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                                    FINE AND RESTITUTION PAYMENTS                                    '1                                     I      j Docket Entries Begin On Reverse Side                                                                                     U        JrdPrty
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                                    DATE                     RECEIPT NUMBER                     C.D. NUMBER                         DATE                  RECEIPT NUMBER                           C.D. NUMBER
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                                                  Case 3:92-cr-00077-BO Document 2 Filed 12/22/92 Page 1 of 4
/                                  ¥,    I       Docket No

                                                                 I          W   M"STER DOCKET - MULTIPLE, DEFEND"NT C"SE   PAGEL-J OFL.-J
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                       O=+        92         00077                01            PROCEEDINGS DOCKET FOR SINGLE DEFENDANT                           Stln Dill    ltr    ,ollf
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                                                                                           v.   PROCEEI)INGS                                                                      A E• .", or tlllMi"l
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                                             CASE ASSIGNED TO JUDGES BOYLE AND MCCOTTER
      12-22-92 1                    INDICTMENT: cc: Judge, file, counter, magistrate, division,                                                                                       :::,'~
                                    USA, USPO, PTS, USM.                                                                                         wsc
      12-28-92                      NOTE TO FAYETTEVILLE DIVISION TO FORWARD ANY MAGISTRATE PAPERS
                                    RE THIS DEFENDANT.                                                                                           WSC
                                                                                                                                                                                  ~      NARA IJl"" l1B

    12/29/92     (TRACEY LINNE JACKSON)                                                                                                                                                uSC 29021 1(1) (111)1
                                                                                                                                                                                  C Statl/Fed.! pro
                                                                                                                                                                                       c:eedI,..
                                                                                                                                                                                           on other
                       ISSUED NOTICE for I.A. on Thur. 1/14/93 at lOAM in Fay Before                                                                                                   dl..... \1'111011

                                Judge Dixon 3rd Floor Courtroom c: USA, Cousnel, USM, Judge Dil\o-on,                                                                             o Int.rloaHOfY..-
                                                                                                                                                                                   peal [(1\tEn

                                USPO, PTS, Fay Div.                                 jh                                                                                            E Prelrlal motion
                                                                                                                                                                                   Urom '.Iu'llto
                                                                                                                                                                                   M'rI", Of to other
     12/14/92 ~ CRIMINAL COMPLAINT 192-1060M-3                                          h                                                                                          prO"tPI GllipeJlit,onl
                                                                                                                                                                                       l(1 I(F 11
     12/14/92 ~ WARRANT FOR ARREST 192-1060M-3                                          h                                                                                         f     TrMlfoe, hewn 01_
                                                                                                                                                                                      district per fRC"
     12/14/92 §. MOTION FOR DETENTION AND CONTINUANCE OF DETENTION HEARING -                                                                                                           202101' 4001' "'II ...
                                                                                                                                                                                       Rul16l1llHGIJ
                                  by govt c: Judge Dixon
     12/14/92



     12/14/92
                  INITIAL APPEARANCE at Fay Before Judge Mason (Pro. Rec.)
                         Deft adv. of all rights - Deft req. court appt. counsel
                           CJA23 completed and approved - pIc set for 12/17/92 at
                         Fay. Deft remanded to custody
                   ORDER that the FPD provide representation in this case.
                                  (Judge Mason) c: fPD
                                                                                      jh                                                                                                   •
                                                                                                                                                                                  G PrOl:WO"II.IM'dltf
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                                                                                                                                                                                      filtd Iftd lW..i"ll
     12/14/92     ISSUED NOTICE FOR PROBABLE CASUE HARING AND DETENTION HEARING -                                                                                                     compIe1!ld 111 ItJJI
                                                                                                                                                                                  H IfIlhac. procwdinp:
                           at Fay Thurs. Dec. 17, 1992 at 2PM                                                                                                                      Ifr""...rNI'U,~.1
                                                                                                                                                                                   prObltlGn, rWOCltiOfl.

                         c: USA, UsM, Joyce Todd, PTs, Judge Mason, FPD               jh                                                                                           Deportatlon,IIIUII
                                                                                                                                                                                   dillon Ill)}

     12/15/92       ORDER OF TEMPORARY DETENTION - 12/17/92 at 2PM at Fay                                                                                                         5Defoet'ral of prOle
                                                                                                                                                                                   anion tPH 28 USC
                            (Judge Mason) c: USA, USPO, PTS, Judge Mason, FPD        jb                                                                                                2902) 1I1l(CH
                                                                                                                                                                                  8TrlftlPC)fllt.on tre-n
                                                                                                                                                                                   ..mtIIr dislf1ct or
    2/16/92   7 NOTICE OF APPEARANCE - by: Gale M. Adams c: USA, USPO, PTS,                                                                                                        to/from luminetion

                         Judge Boyle                                               jh                                                                                                  or~IIIJ.II
                                                                                                                                                                                                •.
                                                                                                                                                                                       In 10 dayI Of
                                                                                                                                                                                       1I1ltH)1
    2/16/92        REQUEST FOR DISCOVERY - by deft c: Judge Boyle                   jh                                                                                            1Con1lderillon

     12/17/92                            - at Fayetteville Before Judge Dixon (Proc. R~c.)                                                                                         Court of propGlllCl
                                                                                                                                                                                   pte. . . .menl [IHIIlI

                      Deft adv. of all rights - Req. court appt. counsel. CJA23 completed                                                                                             I PrOM(:u11on dt,... 1tid
                                                                                                                                                                                       by mutull . .oetTIlII"It
                                                                                                                                                                                       11>11
                      and approved - Govt moves for pIT Detention - Court finds                                                                                                   "'II Un""lilet!ility (If de
                      danger to cornrn. and flight risk - Remanded to custody                                                                                                         fll'ldlntOf ....... I.1I
                                                                                                                                                                                      Wltrwu t13ltA,BIJ

    2/17/92    (
                    ORDER the court finds no suitable conditions of release -                                                                                                     N Period of fTIIfttal/pfty·
                                                                                                                                                                                   Ileal ll'tCewnper.nat

                         and Orders deft remanded to custody pending disposition of                                                                                                of dtf. 10 stand
                                                                                                                                                                                   trl .. [(4,)

                      this case. (Judge Dixon)          cys dist by Fay Div.            ~h                                                                                        o     Plrlod of NARA
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      1-13-9   \0 ORDER ON PRE"-TRIAL SCHEDULING" - discovery by 1-8-9-3-                                                                                                          ment Iftd/Of new
                                                                                                                                                                                   ch..... 1(8)!

                    MOTION to be filed no later than 1-18-93


      1-19-93 1
                    RESPONSES to be filed no later than 1-28-93
                     (Judge McCotter) Cys: USA, COUNSEL & Judge Boyle
                   ORDER ON PRETRIAL SCHEDULING:: (McCotter)
                     All pretrial discovery by 2-3-93
                     all pretrial motions by 2-15-93
                     All responses by 2-25-93.
                                                                                                                                            jrn

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                     cc: J. Boyle, file, USA, counsel, CRaB 19, pg 202                                                                       wsc                                       lowl", ('1ICIn1 IT I
                                                                                                                                                                                       tt1,u T4\1' .wn In
                                                                                                                                                                                       IUppofl of tcflll
      1-20-93 12 MOTION TO EXTEND TIME TO FILE PRETRIAL MOTIONS:: by deft/ w/                                                                                                          UIf"CII   HSIIA,B)!

                     cert. of service. cc: ~~Xi, file. Judge McCotter                                                                        wsc                                  T1 f •• lurelo conti,rIUI
                                                                                                                                                                                   would ItOJI further
                                                                                                                                                                                       prOCM'di,.. Of
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     1/14/93                        INITIAL APPEARANCE at Fay Before Judge Dixon (Proc. Rec.)                                                                                          of tu'l11Ci HSllS,IIHI

                                                       Deft adv. of rights. FPD present w/deft                                                                                        T2  c... unUlU1t Of com·
                                                                                                                                                                                       pMoli   IlSHS).11
                                                       Deft remanded to custody of USM                                                      jh

      1/28/93                       ORDER the PTS Order of 1/15/93 is stricken. Mtns Allowed by 2/1b/93
                                                         Responses: 2/26/92. Any delay resulting from
                                                         this extension is excluded (Judge McCotter)
                                                                                                                                                                                      "'~
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                                                                                                                                                                                       In 30 cYyl     (ISIlB,I.lI
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                                                                                                                                                                                       to obl.. n Of IUbfti
                                      0.B.#20, p.26 c: USA, FPD                                       jh                                                                               lU~ coun... l. Of . , .

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                 Case 3:92-cr-00077-BO Document 2 Filed 12/22/92
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          UNITED STATES DISTRICT COURT
                                  ~
          CRIMINAL DOCKET      U. S. VI
                                         TRACEY LINNE JACKSON                                    Jr~     92-77-0l-CR-3
          /r_..;.A..;.O_25_6_A"'T"._~                                                            '- y,          Docket No.     I Def   .

               DATE                                  PROCEEDINGS (continued I                     V. EXCLUDABLE DELAY
          ~~1~9~9~3_ _-+(Document No.1                                                        ~(a:..:l+-~(b:!..l-___+....!(~d+_!(d~l

             2-16-93          ISSUED NOTICE     TO APPEAR - for arraignment and trial on
                                        Monday, Feb. 22, 1993 at 10 A.M. in Raleigh, NC beforE
                                        Judge Boyle - Cys: USA, USM, USPS, USPO & Judge Boyle          jn
             2-23-93          AT RALEIGH - JUDGE BOYLE - C. R. DONNA TOHAWSKI
                                        Deft. appeared with counsel
                                        Deft. sworn - deft. competent
                                        Rule 11 conducted
                                        NO MEMORANDUM OF PLEA AGREEMENT FILED
                               Plea of guilty to Cts. 1 & 2
                               Govt. summarized evidence



•
5-21-93     NOTICE: :
                               Factual basis exists
                               Plea made freely & voluntarily
                               Court accepts plea
                                Bond: deft. to remain in custody
                                Sent: proposed 5-24-93 - Raleigh
                       o appear in NB on Monday 6-7-93 at 9:30 a.m. for
                                                                                        jrn

            sentencing before J. Boyle in 2nd floor courtroom.
            cc: USA, ounsel, USM, USPO, J. Boyle                                wsc
             6-7-93     AT NEW BERN BEFORE JUDGE BOYLE:: C.R. Lib Leonard
                       14. Judgement and Committment:
                        BOP - 44 mths (Ct. 1 & 2 Consolidated for Judgemnt)



•
                             deft. is to recevie credit for time served awaiting impcsit on
                             of sentence in this matter
                        Supervised Release - 3 yrs. Ct. 1
                                             - 3 years Ct. 2 concurrent w/Ct. 1
                            Conditions: deft. will not use/associate w/any illegal drugs l/
                                         controlled substances.
                                         deft. will not possess any illegal drugs
                                         deft. will not possess/use any firearm/dangerous weapons
                                         deft. shall remain gainfully employed.
                                         deft. shall participate in any substance abu~e
                                         treatment/counseling program as directed by ,SPO
                                         which will include uniralysis/other drug detEctipn
                                         measure and may require participation in or



•                                        residence in a treatment facility.
                                         deft. shall pay a special assessemtn of $100 00
                                         deft. shall make restitution to First Citizel s B~nk
                                         P.O. BOX 29515, Raleigh, N.C. in the amount of
                                         $1092.00
                                         deft. will not open new lines of credit w/o SPO
                                         approval.
                        Court recommends incarceration at Fcr Butner if possible an
                        that deft. receive substance abuse prevention treatment whi e
                        serving active sentence.
                         (ENTERED:: 6-8-93) cc: USA, USPO-3, ~M~B, counsel, file,



,                       PTS, J. Boyle, OB      'a I     , pg.     71
                                                                     Lf                 WeC

               6-7-93     PSR filed under seal.                                         w~c
              8-12-93 E) RETURN ON J&C:      executed on 7-017-93 by BOP delivery to
                               FCI- Petersburg                                          wsc




                                                                                        Interval            Start Date   Lt'. Total
                         Case 3:92-cr-00077-BO Document 2 Filed 12/22/92 Page 3 of(per4Section III            End Date   Codl Days
UNITED STATES DISTRICT COURT
CRIMINAL DOCKET
         AO 256A
/                                                                                           V. EXCLUDABLE DELAY
       DATE                             PROCEEDINGS (continued)
                                                                                         lal     (bl      Ie) Idl
I------t-(Document No.1 ---------------------------I-.:.:..:...+--......:::::.=----j........:.:..:...j...~:.-

    2/10/97        ORDER AND PETITION FOR ACTION ON SUPERVISED RELEASE   - - thaI
                      Sup. ReI be modified as follows:    The deft. shall underg(
                      placement in a community corrections cntr. for a period 0   3 Inonths
                      as arranged by USPO and shall abide by the conditions of hat pgm.
                      during said placement. (BOYLE) OB8, p. 214; cys dist. (ent 2/ 2/97)                 b11

     4/29/97       MOTION FOR REVOCATION - Of Supervised Release filed by USPO.
                   Ie: USA, USPO, USM, Judge Boyle                                                pm
     4/29/97       REQUEST FOR ARREST WARRANT -      Filed by USPO                                pm
   4/29/97
6/11/97
  ',/13/97
6/27/97
 7/1/97
                   WARRANT FOR ARREST - Issued.      Orig USM     Ie: USPO, USA
                   AMENDED MOTION FOR REVOCATION - by USPO; cy: J. Boyle
                    WARRANT ISSUED - on 6/13/97 by USPO; cys to USMS
                    RETURN ON WARRANT - deft. arrested on 6/24/97 at Raleigh
                                                                             bll


                   ORDER that the Federal Public Defender provide counsel in th s
                                                                                                  pm
                                                                                                  bll

                                                                                                  bll
                                                                                                                       •
                          case (Judge Dixon) cys dist                                       h
     7/2}97    ",' S1SSUED NOTICE TO APPEAR FOR REVOCATION HRG. - set for 7/28/9                lOam in
                      Raleigh before J. Boyle; cys dist.                              bll
     7/30/97       PROBATION REVOCATION HEARING - AT RALEIGH - C.R. JO BUSH
                      Deft. admits to violation and court sentenced deft. to (9()


    8/4/97
                      days with credit for time served - supervised release ter~ina ed.
                      Written order from probation to follow.                     j~
                   JUDGMENT - that the sup. reI. term be revoked effective imme iately
                     &the deft. is ordered committed to BOP for impriosnment fo
                     90 days. The deft. is to be given credit for time spent i
                     custody while awaiting this hrg. (BOYLE) OBlO, p. 150; cys
                                                                                                                       •
                     dist. (BOYLE) (ant. 8/5/97)                            bll
     9/3/97         RETURN ON JUDGMENT - inmate was recv/d into BOP custody at
                        Vance Co. Jail on 8/13/97.                          bll




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                                                                                                                       ,
                            Case 3:92-cr-00077-BO Document 2 Filed 12/22/92     Page 4 of
                                                                                Interval
                                                                         (per Section III
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